        Case 1:13-cr-00136-DAD-BAM Document 316 Filed 08/27/14 Page 1 of 2


1    BENJAMIN B. WAGNER
     United States Attorney
2    GRANT B. RABENN
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
     Attorneys for the
6      United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                      Plaintiff,      ) ORDER FOR FORFEITURE MONEY
                                        ) JUDGMENT
13          v.                          )
                                        )
14   DAVID RUEM,                        )
                                        )
15                      Defendant.      )
                                        )
16                                      )
17          Based upon the United States’ Application for Preliminary Order

18   of Forfeiture and Publication Thereof; Application for Forfeiture

19   Money Judgment and the plea agreement entered into between plaintiff

20   United States of America and defendant David Ruem,

21          IT IS HEREBY ORDERED that

22          1.   The defendant David Ruem shall forfeit to the United States

23   the sum of $145,250.00, and the Court imposes a personal forfeiture

24   money judgment against defendant in that amount.

25          2.   Any funds applied towards such judgment shall be forfeited

26   to the United States of America and disposed of as provided for by

27   law.    Prior to the implementation of sentence, any funds delivered to

28   the United States to satisfy the personal money judgment shall be

29
                                                Order for Forfeiture Money Judgment
                                            1
          Case 1:13-cr-00136-DAD-BAM Document 316 Filed 08/27/14 Page 2 of 2


1    seized and held by the U.S. Department of the Treasury, in its secure

2    custody and control.

3          3.    This Order of Forfeiture shall become final as to the

4    defendant at the time of sentencing and shall be made part of the

5    sentence and included in the judgment.

6          4.    The United States may, at any time, move pursuant to Rule

7    32.2(e) to amend this Order of Forfeiture to substitute property

8    having a value not to exceed $145,250.00 to satisfy the money

9    judgment in whole or in part.

10
     IT IS SO ORDERED.
11

12   Dated: August 26, 2014
                                       SENIOR DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

29
                                                  Order for Forfeiture Money Judgment
                                              2
